   Case 1:23-cv-20666-XXXX Document 1-2 Entered on FLSD Docket 02/21/2023 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida

                         Victoria Miller                            )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No.
                                                                    )
              Royal Caribbean Cruises, LTD.
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION
                                           Royal Caribbean Cruises, LTD.
To: (Defendant’s name and address) c/o CT Corporation System
                                           1200 South Pine Island Road
                                           Plantation, Florida 33324




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Cecilia D. Orozco, Esq.
                                           Weinberg Wheeler Hudgins Gunn & Dial, LLC
                                           3350 Virginia Street
                                           Suite 500
                                           Miami, Florida 33133



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
